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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                    )
 COMMITTEE ON WAYS AND MEANS,                       )
 UNITED STATES HOUSE OF                             )
 REPRESENTATIVES,                                   )
                                                    )
                         Plaintiff,                 )
                                                    )
               v.                                   )
                                                           No. 1:19-cv-01974-TNM
                                                    )
 UNITED STATES DEPARTMENT OF THE                    )
 TREASURY, et al.,                                  )
                                                    )
                         Defendants,                )
                                                    )
 DONALD J. TRUMP, et al.,                           )
                                                    )
                         Defendant-Intervenors.     )
                                                    )

                         NOTICE OF WITHDRAWAL OF COUNSEL

       Please take notice that David H. Smith hereby withdraws his appearance as counsel for

amici curiae Geraldine R. Gennet, Kerry W. Kircher, Irvin B. Nathan, William Pittard, Thomas

J. Spulak, and Charles Tiefer in this case. As of October 2, 2021, David H. Smith is no longer

affiliated with Robbins, Russell, Englert, Orseck & Untereiner LLP (“Robbins Russell LLP”).

Amici will continue to be represented by other counsel of record from Robbins Russell LLP.

Dated: October 4, 2021                            Respectfully submitted,
                                                  /s/ David H. Smith
                                                  David H. Smith (D.C. Bar No. 1035055)
                                                  ROBBINS, RUSSELL, ENGLERT,
                                                  ORSECK & UNTEREINER LLP
                                                  2000 K Street, N.W., Fourth Floor
                                                  Washington, DC 20006
                                                  Telephone: (202) 775-4500
                                                  Facsimile: (202) 775-4510
                                                  hsmith@robbinsrussell.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on October 4, 2021, I will electronically file the foregoing Notice of

Withdrawal of Counsel with the United States District Court for the District of Columbia using

the CM/ECF system. Counsel for all parties to the case are registered CM/ECF users and will be

served by the CM/ECF system.



                                                     /s/ David H. Smith
                                                     David H. Smith




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